Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 1 of 11

PLAINTIF’S PROPOSED ORDER FOR SUMMARY JUDGEMENT

AND NOW, this day of , 2021 upon consideration Plaintifs Motion for Default

Judgment and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.

[1]

[2]

[3]

[4]

[5]

[6]

[7]

[8]

[9]

Per Marks v. Stinson, <ref> https:/Avww.leagle.com/decision/199489219f3d8731759 </ref>, Donald J. Trump be
sworn in as President, with Mike Pence by removing Joe Biden, and Kamala Harris, if for no other reason he can be
removed from office with OFFICIAL TRIAL as demanded by NANCY PELOSI, SPEAKER OF THE HOUSE and all
EXECUTIVE ORDERS SIGNED BY Joe Biden be declared NULL and VOID.

Order BITTANY SPEARS BE DECLARED FREE OF ALL JUDGEMENTS AND ALL ORDERS BY ALL COURTS IN
COMPLIANCE WITH JUNETEENTH NOTIFICATION IN TEXAS 19JUN1865 AND SHE BE ALLOWED TO
PROSECUTE THOSE THAT ENSLAVED HER INCLUDING Judge Brenda Penny AT ONE THOUSND DOLLARS A
DAY.

COMBINE THIS CASE WITH IMMEDIATE EN-BANC HEARING IN THE UNITED STATES COURT OF

APPEAPLS THIRD CIRCUIT in case 19-1842 to AFFIRM these judgements, excluding Judge Rendell and all other

judges that are biased, or bribed case 20-1223 (Johnson and Johnson v. Ingham), 20-1449 (USA v. Joeseph R.

Johnson).

DOMINION VOTING SYTEMS AND THEIR SUBSIDIARIES PAY 10 TIMES THE REQUESTED AMOUNT AS A
PENALTY.

BEND BULLETIN NEWSPAPER AND EO MEDIA GROUP PAY 1 MILLION DOLLARS A DAY UNTIL THEY
PUBLISH THE ADVERTISEMENT SCHEDULED TO RUN ON 14FEB2021 AS A FULL PAGE ADVERTISEMENT
IN EVERY PUBLICATION THEY CONTROL.

Order the SUMMARY JUDGEMENT against all parties be granted and made FINAL at one million dollars per day or
as a negotiated amount for Each individual in favor of Mr. Cutler.

ORDER THE PEOPLES REPUBLIC OF CHINA PAY AN AMOUNT TO COMPENSATE EVERYONE IN THE

UNITED STATES THAT WAS NOT PART OF THE PLOT AT LEAST $ 1400.00 AND $255.00 FOR EVERYONE
THAT DIED.

JERRY NADLER for stating that “GOD'S WILL IS NOT THE CONCERN OF THIS CONGRESS" be identified as a

SONDERKOMMANDO, along with Josh Shapiro.
ORDER JERRY NADLER AND ALL IMPEACHMENT MANAGERS PAY ONE MILLION DOLLAR A DAY PENALTY

UNTIL THEY RESIGN FOR MANUFACTURING EVIDENCE JUST LIKE EAST LAMPTER TOWNSHIP

MANUFACTURED EVIDENCE IN THE EAST LAMPRTER TOWNSHIP CASE AGAINST LISA MICHELLE

LAMBERT AFTER THE POLICE WERE RAPING HER AT GUNPOINT, AND VIOLATING THEIR OATH OF

PAGE 71 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 2 of 11

OFFICE AND THEIR CONSPIRACY AGAINST JEFFREY CUTLER.

[10] ORDER THAT RUDOLPH GULIANAI AND SYDNEY POWELL BE COMPENSATED AS APPROPRIATE FOR
SLANDER BY DOMINION, SINCE THE BIG LIE IS THE TRUTH, WHICH WAS ALSO DESCRIBED TO DETAIL
THE ATTACK BY THE FEDERAL GOVERNMENT ON WACO TEXAS.

[11] ORDER THAT 10% OF ALL PAYMENTS MADE TO ALLISON MACK BE PAID TO EACH OF THE WOMEN SHE
HELPED BRAND.

[12] THERE IS NO REASON TO WAIT ON LIFTING THE BAN ON FIREARMS SINCE EACH DAY IT IS IN EFFECT IT
DETRACTS FROM THE LIBERTY OF THE UNITED STATES, JUST LIKE RESTRICTING THE FREE EXERCISE
OF RELIGION IN CALIFORNIA

[13] ORDER THAT JUDGE LIMBAUGH PAY A 10,000 A DAY FINE STARTING 16AU2021 IF THE CURRENT ORDER
STAYS IN EFFECT.

[14] ORDER THAT EVERY REPORTER AND NEW YORK TIMES THAT KNOWING LIED PAY A 10,000 A DAY FINE
STARTING 16AU2021 IF THE CURRENT STORIES ARE NOT CORRECTED AS WELL AS JILLIAN MIXELL AND
MARK MURPHY OR UNTIL THEY AGREE TO TURN OVER EVIDENCE AND A AGREED AMOUNT TO JEFFREY
CUTLER PLUS THEIR RESPECCTIVE INSURANCE COMPANIES PAY A ONE MILLION DOLLAR DAY FINE TO
JEFFREY CUTLER.

[15] ORDER THAT WILLIAM H. MCMICHEAL BE STATRTED ON SOCIAL SECURITY AND MEDICARE JUST LIKE
THE ILLEGAL ALIENS THAT WERE GRANTED THE SAME PAYMENTS SINCE 20JAN2021, AND THEY BE
LISTED AS PART OF FOIA-2020-01319

{16] THE PLASTIC BAG BAN IN PHILADELPHIA VIOLATES AMMEND 1 SINCE IT RESTRICTS THE PRESS AS
WELL AS THE SODA TAX SINCE THEY APPLY LAWS UNEQUALLY

[17] THE PROPERTY KNOWN AS WITH A TAX ID LISTING IDENTIFIED AS 400-73447-0-0000 BE RETURNED TO
THE MIA LAND TRUST

[18] ORDER THAT MICHAEL OZZIE MEYERS, & ALANZO LAMAR JOHNSON JAIL TERMS BE LIMITED TO 23
DAYS (THE SAME SENTENCE OF PARIS HILTON), AND JOE BIDEN’S POLICYS ARE ENRICHING THOSE
IMPORTING ILLEGAL DRUGS INTO THE UNITED STATES

[19] ORDER ALL PERSONS THAT PARTICIPATED IN THE FRAUD AGAINST THE UNITED STATES IN THE
TAKEOVER OF THE TALIBAN PAY 10% OF THEIR NET WORTH TOWARDS THE RESTORATION OF THE

UNITED STATES.

[20] ORDER A PROGRAM TO CONSTRUCT DEMONSTRATION DESALINIZATION PLANTS SIMILAR TO
PROVISIONS OF THE SALINE WATER DEMONSTRATION ACT (72 Stat. 1706), September 2, 1958 TO

SUPPLY WATER AND WEATHER (RAIN) FOR CALIFORNIA AND OTHER WEST COAST STATES.

PAGE 72 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 3 of 11

[21] ORDER A PROGRAM TO CONSTRUCT DEMONSTRATION WATER VELOCITY CONTROL ON THE

MISSISSIPP!] RIVER AS A MEANS OF FLOOD CONTROL

[22] ORDER ALL PERSONS THAT ARE MEMBERS OF THE KKK OR SUPPOTERS BE IDENTIFIED INCLUDING

ETHAN DEMME AND OTHER FAKE REPULICANS

[23] ORDER A PROGRAM TO CONSTRUCT DEMONSTRATION WATER TESTING CONTROL FILTERS THAT
COMBINE TESTING MEASUREMENT AS WATER METERS FOR WATER PURITY CONTROL.

[24] ORDER THAT JUDGE PAULA PATRICK BE CONSIDERED FOR A FEDERAL JUDGE POSTION
[25] ORDER THAT Mr. GREENBERG (Associate of Matt Gaetz) JAIL TERM BE LIMITED TO 23 DAYS (THE SAME
SENTENCE OF PARIS HILTON) based on Equal Treatment Under the law.

[26] ORDER THAT Robert Ceprano be compensated at a minimum of $250,000 and David Cicilline pay 50% of

the amount and 10% of his federal pension into the fund fo compensate those individuals.

[27] ORDER THAT MANDATORY TESTING TO TRAVEL VIOLATES THE THE CONSTITUTION

[28] ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION

[29] Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.

[30] Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with

the voting in Pennsylvania and mailing the vote tally to CONGRESS, and ACCESSORY TO MURDER after the fact.

[31] Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge
Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert
vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman,
David Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer,
Stepen T. Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against
Roger Stone and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma,
etc.), for violations of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his
appointment was based on perjured testimony, which is verfied by Mr. Steele in a foreign court.

[32] Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.

[33] Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.

[34] Order Nancy Pelosi and Adam Schiff to resign from their elected positions based on crimes identified in this

document, or from their leadership positions and pay 1million dollars per day fine until they agree.

PAGE 73 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 4 of 11

[35] Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge

Nicholas G. Garaufis, Judge Midge Rendel, Judge Ashcroft, Gerald Papert Judge Jeffrey Schmehll, Judge Paul
Diamond and Judge Catherine Blake, Judge Chad Kenney, C. Darnell Jones II, Adam Witkonis pay twice their daily
salary each day to the innosense project , until they resign.

[36] Order the Peoples Republic of China as DEFAULTED for violating United States Mail Fraud laws by reading the

document and then trying to claim it was refused 1 week later, effectively a Waiver of Service case 1:20-cv-00099,

Eastern District of Missourri.
[37] CHARGES AGAINST KEVIN STRICKLAND AND LAMAR JOHNSON BE VACATED BECAUSE OF EXISTING

FAIRNESS (JUST LIKE BILL COSBY & THEY ARE BEING HELD ILLEALLY IN Missourri), AND BE AWARDED
250,000.

[38] Order Tom Wolf, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds for trying
to conceal the Murder of 5 children, and destroy the evidence

[39] Order all vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[40] Provide documentation to the court of how much all court costs and legal fees have been to date, and list cost or
legal hours and ALL LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and
Donald Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee
documentation should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

[41] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case,
especially any officials of the United States Government, and all payments by any George Soros organization.

[42] Order a one million dollar a day penalty per named defendant, until Mr. Cutler's reputation and credit are restored or
individual agreements are reached with each party.

[43] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause
why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO violations,
and 18 U.S.C. § 1964, Civil RICCO Act.

[44] Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants
in this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113
(bank robbery) and electoral fraud.

[45] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[46] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded
in their respective lawsuits.

[47] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the

PAGE 74 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 5of11

plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP OF BIO-WARFARE!!
[48] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.
[49] Other remedies the court deems appropriate.

[50] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[51] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[52] Order George Bochetto pay $ 100,000 for the false statement (18 USC § 1001) made in case 2:21-cv-01609.

[53] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free
exercise of religious beliefs and violates Matihew Shepard and James Byrd Jr. Hate Crimes
Prevention Act.

[54] Order CHINA to allow the residents of Hong Kong to vote TO become a territory of the United
States for attacking the United States,

[55] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States
for their part in help in attacking the United States.

[56] Combine cases 5:21-cv-00299,20-1805, 20-1449, 19-1842, 20-1422 from USCA third circuit and 20-
5143 from the USCA DC CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern
District of New York, case 1:21-cv-00213, Cl-20-01310,Cl-20-08-039 from Lancaster court of
Common Pleas, and 1:12-cv-00401,1:21-cv-00440, 1:21-cv-00445,1:21-cv-00586 from the District
of Columbia, 2:21-cv-00031 Western District of Washington, 1:20-cv-00099 Eastern District of
Missouri, and TRAFFIC CITATION C6598201-1 and ail other related cases Mr. Cutler has identified
previously and in this case and all related documenis in these cases.

[57] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-

12.

[58] Order that case Cl-20-08-039 VIOLATED Kelo v. City of New London for the property at 511Avenue N and Mr.
William McMicheal be compensated at least by the same amount paid to the estate of Vera Cooking at auction.

[59] Order that the American Rescue Plan Act of 2021 be declared UNCONSTITUTIONAL since it EXPRESSLY signals

out aid to FARMERS that are BLACK and all funds sent be recovered from the People’s Republic of China as a

PENALTY.

[60] Order the FEDERAL QUESTIONAIRE for purchasing a FIREARM be altered to ask if the individual intends to use

the firearm to MURDER people and have copy sent to the ATF so they can be charged with MAIL FRAUD, as well

as perjury.

PAGE 75 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 6 of 11

[61] Order Susan Peipher Esquire and other lawyers guilty of similar activites aimed at harming Jeffrey Cutler, to be
barred from participation in the Federal Court CM/ECF system and pay a fine of 10,000 DOLLARS PER DAY OR
NEOTIATED AMOUNT.

[62] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds,
or on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler’s activity AND PAY 10%OF
EVERYONE’S SALARY AND PENSION TO A RECOVERY FUND MANAGED BY JEFFREY CUTLER.

[63] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[64] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler's comments
on youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[65] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[66] Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[67} Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain
LORD AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death
and combined with CENTURY 21.

[68] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting
the coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact
MURDER of Jonthan Luna)

[69] Order CITIBANK pay one million dollars plus three times the amount they allowed to be stolen via mail fraud from
Jeffrey Cutler and Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to

commit mail fraud,with their surrogates such as Midland Credit Management of San Diego, CA. Starting on

01APR2021 the penalty be increased to one million dollars per day for continued violations of the fair credit and

reporting act.
[70] Order VERIZON pay one million dollars plus three times the amount they allowed to be stolen via mail fraud from
Jeffrey Cutler and document how much they spend on lawyers to support their conspiracy to commit mail fraud, with

their surrogates. Starting on 01APR2021 the penalty be increased to one million dollars per day for continued

violations of the fair credit and reporting act.

[71] The constitution should be ammended to allow all citizens of voting age in any prison the right to vote for a
representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The
total prison population shall be added to the census for the country. No additional seats shall be added to the

house. The Ammendment shall be handled by normal ratification.

PAGE 76 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 7 of 11

[72] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote
for a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote.
The total population shall be added to the census for the country. No additional seats shall be added to the house.
The Ammendment shall be handled by normal ratification.

[73] The government shall establish a set of specifications for the minimum features a health plan shall contain to be
called copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[74] The intentional termination of tife by any third party for money for all individuals from 84 months old after conseption
to 30 months old after conseption shall be considered a crime.

[75] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge
and individual charge.

[76] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL IN THE
COMMONWEALTH OF PENNSYLVANIA SHOULD BE DENIED because it should be an injunction pending Appeal.

[77] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local

specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[78] Judge Rendell should recuse herself because of her involvement with this case, dating to 13MAY1985 and her
current spouse involvement with the Insurance industry.

[79] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[80] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place
by the president of the United States.

[81] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and
if they cannot be seperated all votes where they are mixed should be discarded.

[82] Order Tami Levin, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken
Krieger be compensated at a minimum of $250,000 dollars.

[83] Order Ivan Ruiz-Rivera (case 5:21-cv-02105) be compensated at least $ 250,000

[84] Keith Dougerty, Larry Runk (case 15-1271, 1:14-cv-00480) be compensated at least $ 250,000 and any charges
vacated.

[85] Carolyn Gundel (case 5:21-cv-01472) be compensated at a minimum of $88,000 and at minimum $19,000 paid by
Todd Graeff

[86] Caron Nazario (case 2:21-cv-00169) be compensated at a minimum of $1,250,000 and at minimum $190,000 paid
by Danie! Crocker

[87] Order the heirs to the estate of Micheal Rosenblum be compensated at a minimum of $250,000 and at least 1% be

PAGE 77 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 8 of 11

paid by officers of the Baldwin Pennsylvania Police Department.

[88] Order the heirs to the estate of Davud Kassik be compensated at a another minimum of $250,000 and at least 1%
be paid by former officer former Lisa Mearkle of the Police Department.

[89] Princeton University pay a one million dollar penalty for limiting GOD in favor of protests

[90] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
03SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[91] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,
including both children of Budd Dwyer and the individual Mr. Smiles identied as “K” living in his car via email to Mr.
Cutler.

[92] Order all Public Broadcasting Stations start tracking murders by type and cause of death so that SERIAL Killers and

KKK members may be more easily identified like <ref> hitos://en.wikipedia.org/wiki/Joseph_ Christopher </ref>

Joeseph Christopher who liked to kill black people.

[93] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and
Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment of at least 10% of
their NET WORTH.

[94] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers and PIPELINES, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used
instead of CARES act money to balance the Pennsylvania Budet

[95] Have the deaths of George Segal and Robin Williams be investigated to see if they were related to BAD ACTORS in
the FEDRAL GOVERNMENT.

[96] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[97] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[98] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[99] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

[100] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter,
and Dion Williams.

[101] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify
under OATH.

[102] Order Traveller’s Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[103] Order every employee at PBS/NPR especially BRIAN NAYLOR, to dedicate 10% portion of their pension or
paycheck to a fund or face prosecution for 18 U.S.C. § 3, 18 U.S.C. § 653- ACCESSORY TO MURDER AFTER

THE FACT, MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

PAGE 78 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 9 of 11

[104] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=XqngkJolrBk </ref>>

[105] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> <ref>https://www.youtube.com/watchév=Coxy7gXOJtA </ref>

[106] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www. youtube.com/watch?v=DJOB2DINNsY </ref>

[107] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=7-w5NZYUICO </ref>

[108] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?év=WQfOwB-k7yQ@ </ref>

[109] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> hitps://www.youtube.com/watch?v=xNdIBw7z_aw </ref>

[110] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=DV-92HMNGUY </ref>

[111] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watchév=ONc7g3PqtOM </ref>

[112] GOOGLE is guilty of violating and in conjunction with every other news media including ABC,
CBS, NBC is guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

[113] Kara N. Templeton, Christopher Leppler,Judge Paul Diamond ,Judge Wright, Judge Nicholas G. Garaufis,

Judge B. Denise Commins have conspired to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan
Luna and pay a fine equal to their pension for 10 years.

[114] | ALL PENALTIES THAT THE IRS and Pennsylvannia HAVE LEVIED AGAINST MARILYN CUTLER SHOULD
BE VACATED because OF MAIL FRAUD.

(115] Dr. Levine and other PUBLIC health officials should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any
payments made to them, and pay the equivalent of Social Security Death payment for everyone that died in
Pennsylvania and the United States, as well as all media organizations that also participated in the deaths
(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[116] Charges against Carolyn “BUNNY” Welsh from Josh Shapiro should be vacated since he was NOT LEGALLY

PAGE 79 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 10 of 11

ELECTED based on the ORDER from Mr. Torres 12APR2018, and any Prison Time be limited to 23 DAYS.

[117] Darlie Routier sentence sould be vacated due to an UNIDENTIFIED BLOODY FINGERPRINT as a BRADY
VIOLATION.

[118] |. CHARGES AGAINST BRANDONN BOSTIAN BE VACATED BECAUSE OF A BRADY VIOLATION, AND BE
AWARDED 250,000.

[119] Order SEPTA to Explore and Engineer Increased Underground Rail roads in Pennsylvania and Philadelphia
based on jeffy Bonds as Mr. Cutler previously Testified.

[120] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with
engines from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and
provide new capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[121] Order that the Harrier Jump Jet Technoloy be explored for use on the 737-MAX engines to provide VTOL
capability

[122] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED §$ 250,000.

[123] | ORDER THAT KEVIN STRICTLAND SENTENCE BE VACATED AND INCORPORATED INTO THIS <ref>

httos:/www_kansascity.com/news/local/crime/article249595653 html </ref> AND AT MINIMUM BE AWARDED $

250,000.

[124] | Order all individuals that have contributed to the Pandemic Destroy America Fund pay twice the amount paid
into the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, Michael Bloomberg, George Soros, Mark
Zuckerberg pay 10% of their net worth as a fine for trying to destroy the United States and electoral fraud and the
constitution as well as all similarly situated.

[125] Order all Government employees that paticipated in any of the mentioned crimes pay 10% of their pension into
a fund to allow equal justice as well as Karie Couric for her support for camps for reprogramming. <ref>

httos://www.thequardian.com/world/202 1/jan/12/uighur-xinjiang-re-education-camp-china-qulbahar-haitiwaji </ref>

AS WELL AS STATING 6 MILLION WAS NOT ENOUGH.

[126] Besides the conspiracy of Amazon, Twitter, it should also include Wikipedia, Google and others not identified,
for trying to elininate GOD.

[127] Mr. Bezos should be incarcerated until Parler has been made whole, and he pays everyone in the United States
that lost money $ 2,000 , along with the president of ABC Channing Dungey, and James Comey(Approximately 400
billion) or 10% of his stock in the company.

{128] | Mr. Mark Zukerberg pays everyone in the United States that lost money $ 2,000 , along with the or 10% of his
stock in the company of Facebook.

{129] Order all charges against Donld Trump and associates be vacated for the government violating FRUIT OF THE

PAGE 80 of 315
Case 1:21-cv-02023-RBW Document 25-1 Filed 08/23/21 Page 11of11

POISONOUS TREE.

[130] Order Jonathan Carl pay an amount of 1,000,000 or face aiding and abetting charges with concealing the Bio-
Warfare attack on the United States, and providing Aid and Comfort to the Enemy.

[131] | ORDER THAT KEITH DOUGHERTY (5-22-2015) LAWSUIT BE INCORPORATED INTO THIS ACTION AND
AT MINIMUM BE AWARDED §$ 250,000, and other persons identified at ERIE INSURANCE RELATED TO CLAIM
A000003279856 (MIXELL) AND THE CEO BE CHARGED INCLUDING THE CEO.

[132] | The verdict in case 20-1223 may be tainted based on manufactured evidence and should be vacated. Or
negotiated with the company.

[133] Order Lawyer Lynne Feruson be charged with conspiracy to commit MAIL FRAUD.with Brian Hurter and all
other persons associated with the bank robbery orchastrated against Mr. Cutler's account. At Fulton & PNC banks.

[134] | Order all federal employees of the courts, that violated the law, especially the clerks pay 10% of their pensions
for providing Aid and Comfort to the Enemy and violating their oath’s of office

[135] Order the case be remanded to Missouri as part of case 1:20-cv-00099 with the Peoples Republic of China

[136] Order that ERIE INSURANCE PAY 51% OF THE COMPANY VALUE FOR THE CONSPIRACY TO DESTROY

THE UNITED STATES.
[137] Order that ALLSTATE INSURANCE PAY THREE TIMES THE POLICY VALUE FOR THE CONSPIRACY TO.
DENY CLAIMS OF MR. CUTLER POLICY 98-APC880-4

[138] Order state Representative Margo Davidson be cleared of all prosecution and awarded 250,000.

[139] Order that the WORD IMPLAUSIBLE is NOT the same as the TRUTH.

[140] Order Jeffrey Cutler be MADE WHOLE FOR ALL crimes commited against him, and PASSPORT AND
DRIVERS . LICENSE be restored, and the theft of his wallet and PASSPORT be investiated if it is part of lawsuit
know as FOIA-2020-01319.

<ref> https://www.courtlistener.com/docket/17211651/huddleston-v-federal-bureau-of-investigation/ </ref>

[141] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

established tenets or teachings of such sect or division of ANY religion in violation of the U.S.

Constitution amendment 1 and declare the ACA unconstitutional , based on the 89 page writ of USCA case 17-

2709 on page 314A, and Supreme court case # 15-632 plus the writ filed by the WHITE HOUSE as 19-840, 19-

1019 and Declare that NO JURISDICTION of the United States can dictate the proper way to pray.

Dated: , 202)

BY THE COURT

PAGE 81 of 315
